Case 3:16-md-02741-VC Document 89-3 Filed 01/05/17 Page 1 of 3




               Exhibit 3
         Case 3:16-md-02741-VC Document 89-3 Filed 01/05/17 Page 2 of 3


From:              Kathryn Guyton
To:                Blair, Aaron (NIH/NCI) [V]
Subject:           Re: Monograph 112
Date:              Thursday, September 18, 2014 6:17:02 AM
Attachments:       List of participants 112[1].doc


Bonjour Aaron!

We’re very pleased to have your positive response! And your co-authorship of several important papers is
not an issue, and in fact may be a strength.

In light of your overall chair responsibilities, you will only be assigned a (very?) short first draft in Section 2:
tetrachlorvinphos, for which our initial searches didn’t identify any epidemiological papers. Your peer
review will be especially valuable for other agents, as the drafts authored by other working group members
will likely include your publications.

At this stage, we would also like to assign you general comments on issues relevant to the the epidemiology
results and their interpretation for the selected pesticides. These could eventually be part of Section 2, if
not general remarks for the overall volume.

Initial drafts are due 1 December (a bit later than advertised). Further instructions will be coming very
soon!

I’ve appended the initial list of participants, FYI. In Subgroup 2 will be Drs. Forastiere (subgroup chair),
Isabelle Baldi, and Andrea ’t Mannetje as well as you.

Don’t hesitate with any questions.

Best regards,
Kate
Kate Z. Guyton PhD DABT
Responsible Officer, Volume 112
Monographs Section
International Agency for Research on Cancer
150, cours Albert Thomas
69372 Lyon Cedex 08
France
Tel: [+33] (0)4 72 73 86 54
Guytonk@iarc.fr


From: <Blair>, "Aaron [V] (NIH/NCI)" <blaira@exchange.nih.gov>
Date: Wednesday 17 September 2014 21:54
To: Kate Guyton <guytonk@iarc.fr>
Subject: RE: Monograph 112

I would be happy to be nominated for the position of Chair of Volume 112. I just wanted to raise the issue
          Case 3:16-md-02741-VC Document 89-3 Filed 01/05/17 Page 3 of 3


that I will probably be a coauthor of many of the papers that is reviewed for the volume. Is that okay?

Aaron
________________________________
From: Kathryn Guyton [GuytonK@iarc.fr]
Sent: Wednesday, September 17, 2014 9:35 AM
To: Blair, Aaron (NIH/NCI) [V]
Subject: Monograph 112

Bonjour Aaron!

I hope you are well. I write to ask if you would consider being overall chair for the upcoming monograph
volume 112 meeting. You are the natural choice for this role, and it would be a great honour to work with
you in this capacity. Do let us know if you may be able to accept.

With best regards,
Kate
Kate Z. Guyton PhD DABT
Responsible Officer, Volume 112
Monographs Section
International Agency for Research on Cancer
150, cours Albert Thomas
69372 Lyon Cedex 08
France
Tel: [+33] (0)4 72 73 86 54
Guytonk@iarc.fr<mailto:Guytonk@iarc.fr>




------------------------------------------------------------------------------------------------
This message and its attachments are strictly confidential. If you are not
the intended recipient of this message, please immediately notify the sender
and delete it. Since its integrity cannot be guaranteed, its content cannot
involve the sender's responsibility. Any misuse, any disclosure or publication
of its content, either whole or partial, is prohibited, exception made of
formally approved use.
------------------------------------------------------------------------------------------------
